     Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 1 of 14 PageID #:1314




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

LORI K., 1                                      )
                                                )
        Plaintiﬀ,                               )
                                                )       No. 22 C 50367
v.                                              )
                                                )       Magistrate Judge Laura K. McNally
MARTIN O’MALLEY,                                )
Commissioner of Social Security, 2              )
                                                )
        Defendant.                              )

                                              ORDER 3

        Before the Court is Plaintiﬀ Lori K.’s memorandum in support of summary

judgment, asking the Court to remand the Administrative Law Judge’s (“ALJ”) decision

denying her applications for disability beneﬁts (D.E. 15: Pl. Mem. in Support of Summ.

J., “Pl. Mem.”) and Defendant’s response in support of summary judgment (D.E. 20:

Def. Mot. for Summ. J., “Resp.”).



1The Court in this order is referring to Plaintiff by her first name and first initial of her last
name in compliance with Internal Operating Procedure No. 22 of this Court.

2The Court substitutes Martin O’Malley for his predecessor, Kilolo Kijakazi, as the proper
defendant in this action pursuant to Federal Rule of Civil Procedure 25(d) (a public officer’s
successor is automatically substituted as a party).

3On October 31, 2022, by consent of the parties and pursuant to 28 U.S.C. § 636(c) and Local
Rule 73.1, this case was reassigned to the magistrate judge for all proceedings, including entry
of final judgment. (D.E. 8.)
     Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 2 of 14 PageID #:1315




I.      Procedural History

        Plaintiﬀ applied for disability insurance beneﬁts (“DIB”) on December 23, 2019

and for supplement security income (“SSI”) on June 26, 2020, alleging disability for both

claims beginning December 4, 2019. 4 (R. 276.) Her date last insured was December 31,

2019. (R. 15.) Relevant to this action, Plaintiﬀ previously ﬁled three applications for DIB

and SSI. (R. 93.) In the ﬁrst of those decisions, and ALJ denied her application and then

the Appeals Counsel denied review in 2014 and in the second, an ALJ denied Plaintiﬀ’s

claims on September 28, 2016 and the Appeals Council again denied review. (Id.) In the

third case, which Plaintiﬀ ﬁled on October 31, 2017, ALJ Kevin Vodek found that the

doctrine of res judicata applied to the ﬁrst two decisions. (R. Id.) He considered whether

Plaintiﬀ was disabled beginning October 2016, and after a September 2019 hearing

ultimately decided on December 3, 2019 that she was not. (R. 104.) Plaintiﬀ

subsequently ﬁled the instant action, which was also assigned to ALJ Vodek.

        ALJ Vodek held a hearing on August 16, 2021 and subsequently ordered the

claimant to attend a consultative examination, which she did on December 1, 2021. (R.

1226-40.) Plaintiﬀ and her attorney received the report, imaging and opinion from the

consultative examiner and were given time to submit a response to the ALJ prior to his

decision. (R. 15.) Plaintiﬀ did not submit a response to the report and on February 15,



4Plaintiff’s original alleged onset date was January 1, 2008 but at the hearing and after
conferring with counsel, she amended her onset date to December 4, 2019, the day after ALJ
Vodek’s opinion denying her previous application. (R. 15.)

                                              2
      Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 3 of 14 PageID #:1316




2022, the ALJ issued a written decision denying Plaintiﬀ’s application, ﬁnding her not

disabled under the Social Security Act (the “Act”) from her amended onset date until

the date of the decision. 5 (R. 24.) This appeal followed. For the reasons discussed herein,

Plaintiﬀ’s motion is granted and the Commissioner’s motion is denied.

    II.    The ALJ Decision

          The ALJ applied the Social Security Administration’s (“SSA”) ﬁve-step sequential

evaluation process to Plaintiﬀ’s claims. At Step One, the ALJ found that the Plaintiﬀ had

not engaged in substantial gainful activity since her alleged onset date (R. 17.) At Step

Two, the ALJ determined that Plaintiﬀ had the following severe impairments: lumbar

degenerative disc disease, migraine headaches, and obesity. (Id.) At Step Three, the ALJ

found that none of Plaintiﬀ’s impairments met a Listing. (R. 30-31.) Before Step Four,

the ALJ determined that Plaintiﬀ had a residual functional capacity for:

          ”light work as deﬁned in 20 CFR 404.1567(b) and 416.967(b) except
          for the following limitations: occasionally operate left foot controls or
          push/pull with the left lower extremity; frequently reach in all
          directions or handle/ﬁnger with the left upper extremity; never climb
          ladders, ropes or scaﬀolds; occasionally climb ramps or stairs;
          occasionally balance, stoop, kneel, crouch or crawl; never work
          around unprotected heights, around moving mechanical parts, or
          operate a commercial vehicle; occasionally be exposed to dust, odors,
          fumes and pulmonary irritants; can be exposed to only a moderate
          level of noise as deﬁned in the Selected Characteristics of Occupations
          (SCO) with lighting limited to an oﬃce-like setting.” (R. 19.)

5The Appeals Council subsequently denied review of the opinion (R. 1), making the ALJ’s
decision the final decision of the Commissioner. Bertaud v. O’Malley, 88 F.4th 1242, 1244 (7th Cir.
2023).


                                                 3
   Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 4 of 14 PageID #:1317




       At Step Four the ALJ found Plaintiﬀ was unable to perform her previous job as a

deli clerk, but found at Step Five that there were signiﬁcant jobs in the national

economy Plaintiﬀ could perform. (R. 23.) Therefore, the ALJ held that Plaintiﬀ was not

disabled. (R. 24.)

III.   Legal Standard

       Under the Act, a person is disabled if she has an “inability to engage in any

substantial gainful activity by reason of any medically determinable physical or mental

impairment which can be expected to result in death or which has lasted or can be

expected to last for a continuous period of not less than twelve months.” 42 U.S.C. §

423(d)(1)(a). To determine whether a plaintiﬀ is disabled, the ALJ considers the

following ﬁve questions, known as “steps,” in order: (1) Is the plaintiﬀ presently

unemployed? (2) Does the plaintiﬀ have a severe impairment? (3) Does the impairment

meet or medically equal one of a list of speciﬁc impairments enumerated in the

regulations? (4) Is the plaintiﬀ unable to perform her former occupation? and (5) Is the

plaintiﬀ unable to perform any other work? 20 C.F.R. § 416.920(a)(4). An aﬃrmative

answer at either step three or step ﬁve leads to a ﬁnding that the plaintiﬀ is disabled.

Young v. Sec'y of Health & Human Servs., 957 F.2d 386, 389 (7th Cir. 1992). A negative

answer at any step, other than at step three, precludes a ﬁnding of disability. Id. The

plaintiﬀ bears the burden of proof at steps one to four. Id. Once the plaintiﬀ shows an

inability to perform past work, the burden then shifts to the Commissioner to show the
                                             4
   Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 5 of 14 PageID #:1318




plaintiﬀ's ability to engage in other work existing in signiﬁcant numbers in the national

economy. Id.

       The Court does not “merely rubber stamp the ALJ's decision on judicial review.”

Prill v. Kijakazi, 23 F.4th 738, 746 (7th Cir. 2022). An ALJ’s decision will be aﬃrmed if it is

supported by “substantial evidence,” which means “such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.” Biestek v. Berryhill,

587 U.S. 97, 103 (2019). “[T]he threshold for such evidentiary suﬃciency is not high.” Id.

ALJs are “subject to only the most minimal of articulation requirements” and “need not

address every piece or category of evidence identiﬁed by a claimant, fully summarize

the record, or cite support for every proposition or chain of reasoning.” Warnell v.

O’Malley, 97 F.4th 1050, 1053 (7th Cir. 2024). “All we require is that ALJs provide an

explanation for how the evidence leads to their conclusions that is suﬃcient to allow us,

as a reviewing court, to assess the validity of the agency’s ultimate ﬁndings and aﬀord

the appellant meaningful judicial review.” Id. at 1054. The Seventh Circuit added that

“[a]t times, we have put this in the shorthand terms of saying an ALJ needs to provide a

‘logical bridge from the evidence to his conclusion.’” Id. (citation omitted). The Seventh

Circuit further has clariﬁed that district courts, on review of ALJ decisions in Social

Security appeals, are subject to a similar minimal articulation requirement: “A district

(or magistrate) judge need only supply the parties . . . with enough information to

follow the material reasoning underpinning a decision.” Morales v. O’Malley, 103 F.4th


                                               5
    Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 6 of 14 PageID #:1319




469, 471 (7th Cir. 2024). The district court’s review of the ALJ’s opinion “will not

reweigh the evidence, resolve debatable evidentiary conﬂicts, determine credibility, or

substitute its judgment for the ALJ’s determination.” Chavez v. O’Malley, 96 F.4th 1016,

1021 (7th Cir. 2024) (internal quotations omitted).

IV.    Analysis

       Plaintiﬀ argues generally that the ALJ did not support his RFC determination

with substantial evidence, and more speciﬁcally that the ALJ erred (1) by failing to

employ the SSA’s special technique for evaluating mental impairments, (2) by

mischaracterizing the post-hearing consultative examiner’s opinion, and (3) by ﬁnding

her occipital neuralgia was not a severe impairment. (Pl. Mem. at 6, 8, 11.) Having

considered the record and the parties’ briefs, the Court ﬁnds that the ALJ erred in his

consideration of the consultative examiner’s medical opinion. Therefore, remand is

required. 6

       A. The Consultative Examination

       After the ALJ ordered Plaintiﬀ to undergo a post-hearing consultative

examination, Kamiesh Ramchandani, M.D., examined Plaintiﬀ on December 1, 2021. He

concluded that because of Plaintiﬀ’s back pain, she was able to sit for 20 minutes at one

time, stand for 30 minutes at one time, and walk for 15 minutes at one time. (R. 1236.) In




6Because the Court remands on the issue of the ALJ’s consideration of the medical opinion, it
does not reach Plaintiff’s other assignments of error.

                                               6
    Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 7 of 14 PageID #:1320




an eight-hour workday, she could sit, stand, and walk for a total of two hours each, and

needed to rest for the remaining two hours. (Id.) Due to neck pain, she was limited to

occasional reaching overhead or elsewhere. (R. 1237.)

        The ALJ oﬀered three reasons for ﬁnding Dr. Ramchandani’s opinion not

persuasive: (1) contemporaneous x-rays showed only mild degenerative disc disease

and thus did not support the doctor’s opinion; (2) some of Dr. Ramchandani’s

limitations were inconsistent with Plaintiﬀ’s hearing testimony; 7 and (3) other parts of

Dr. Ramchandani’s opinion relied on Plaintiﬀ’s subjective allegations, which the ALJ

characterized as “based on medical evidence from the prior record and which were

addressed and denied in the last ALJ decision.” (R 22.) The Court ﬁnds ﬂaws with the

ALJ’s reasons to discount this consultative medical opinion and concludes that the

ALJ’s decision is not supported by substantial evidence.

        When deciding how much weight to give a medical opinion, an ALJ is required

to “evaluate the persuasiveness of each medical opinion based on certain factors: (1)

supportability; (2) consistency; (3) the medical source's relationship with the claimant;



7The only inconsistency the ALJ notes is Dr. Ramchandani’s opinion that Plaintiff could only
occasionally reach overhead and elsewhere. (R. 22.) The alleged inconsistency seems to be based
on the ALJ’s understanding that Plaintiff testified she had no problem reaching overhead. (R.
20.) But that is not an accurate recitation of Plaintiff’s testimony. Instead, at the hearing, Plaintiff
testified that on days the nerve in her neck is acting up, she has difficulty reaching overhead,
and no difficulty if the nerve is not bothering her. (R. 45.) Moreover, Dr. Ramchandani’s
examination found Plaintiff had a reduced range of motion in her shoulders. Therefore, there is
no inconsistency between Plaintiff’s testimony and Dr. Ramchandani’s opinion, and the ALJ’s
reliance on one is erroneous.

                                                   7
   Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 8 of 14 PageID #:1321




(4) specialization; and (5) other factors, including the source's familiarity with other

evidence in the claim or an understanding of Social Security disability policies and

requirements.” Michelle D. v. Kijakazi, No. 21 C 1561, 2022 WL 972280, at *4 (N.D. Ill.

Mar. 31, 2022). See also 20 C.F.R. § 416.920c(c)(1)-(5). An ALJ must explain how he

considered the ﬁrst two factors (supportability and consistency) but is not required to

explain her consideration of the other factors. 20 C.F.R. § 416.920c(b)(2). “Supportability

measures how much the objective medical evidence and supporting explanations

presented by a medical source support the opinion.” Michelle D., 2022 WL 972280, at *4;

20 C.F.R. § 416.920c(c)(1). “Consistency assesses how a medical opinion squares with

other evidence in the record.” Id. See also 20 C.F.R. § 416.920c(c)(2).

       The ALJ’s rejection of a consultative examination he ordered is an unusual step

because consultative examiners are agency doctors and are unlikely to exaggerate an

applicant's disability. Garcia v. Colvin, 741 F.3d 758, 761-62 (7th Cir. 2013) (citing

Bjornson v. Astrue, 671 F.3d 640, 647 (7th Cir. 2012)). “As a general rule, an ALJ is not

required to credit the agency's examining physician in the face of . . . compelling

evidence . . . . But rejecting or discounting the opinion of the agency's own examining

physician that the claimant is disabled, as happened here, can be expected to cause a

reviewing court to take notice and await a good explanation for this unusual step.”

Beardsley v. Colvin, 758 F.3d 834, 839 (7th Cir. 2014); see also 20 C.F.R. §§

404.1520c(c)(3)(v), 416.920c(c)(3)(v) (“A medical source may have a better understanding


                                               8
    Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 9 of 14 PageID #:1322




of your impairment(s) if he or she examines you than if the medical source only reviews

evidence in your folder.”). Further, an ALJ should not rely on his own interpretation of

exam ﬁndings instead of a doctor's professional judgment. See Stage v. Colvin, 812 F.3d

1121, 1125 (7th Cir. 2016). As explained below, the ALJ made a number of mistakes

when deciding to reject the ﬁndings of the consultative examiner, and those mistakes

compel remand.

       B. The ALJ’s Prior Decision

       One of the reasons the ALJ rejected Dr. Ramchandani’s opinion was because it

relied on Plaintiﬀ’s subjective complaints of pain, which the ALJ considered to have

been adjudicated in his prior decision, in which he found Plaintiﬀ could work at the

light exertional level. The ALJ seems to reason that he may rely on his earlier decision as

evidence that Plaintiﬀ was not disabled at the later date she saw Dr. Ramchandani. That

is, he asks the Court to ﬁnd substantial evidence supports his current decision because,

he asserts, his last decision was supported by substantial evidence. 8 Agreeing with that

conclusion would require the Court to ﬁrst evaluate the entire prior medical record and

the ALJ’s earlier decision, which it declines to do. See Betty B. v. Saul, No. 19-CV-7699,

2021 WL 678746, at *4 (N.D. Ill. Feb. 22, 2021), citing Herrman v. Astrue, 2010 WL 356233,



8 The Court acknowledges that SSA regulations state that an ALJ’s decision becomes binding if
it is not appealed to the Appeals Council within 60 days. See 20 CFR § 416.1468, Smith v.
Berryhill, 587 U.S. 471, 476, 139 S. Ct. 1765, 1772, 204 L. Ed. 2d 62 (2019). But in this case, the
record is silent as to whether the ruling was appealed and, if so, whether those appeal rights
have been finally adjudicated.

                                                 9
  Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 10 of 14 PageID #:1323




at *12 (N.D. Ill. Feb. 1, 2010) (Judges are not “archaeologists consigned to excavating

masses of paper in search of possibly revealing information that might beneﬁt the party

whose briefs provided no clue of where to dig.”); See also, Estate of Moreland v. Dieter,

395 F.3d 747, 759 (7th Cir. 2005) (“We will not scour a record to locate evidence

supporting a party's legal argument.”).

       Moreover, even if the Court were to ﬁnd the ALJ’s prior decision was supported

by substantial evidence, that face cannot account for Plaintiﬀ’s pain and other

limitations at the time Dr. Ramchandani examined her two years later. There can be no

logical bridge from two-year-old evidence to the ALJ’s conclusion here. Indeed, if the

ALJ intended to rely on his prior decision, there would be no reason for him to have

ordered Plaintiﬀ to undergo a new consultative examination. But he did order the

examination, and Dr. Ramchandani gave his opinion after examining Plaintiﬀ and

talking to her about her symptoms. The ALJ’s determination that his prior decision

allowed him discount Dr. Ramchandani’s opinion is therefore not supported by

substantial evidence.

       Next, the ALJ found Dr. Ramchandani’s opinion unsupported by objective

evidence because Plaintiﬀ’s neck and back x-rays showed only mild degenerative

changes. (R. 22.) But the doctor did not see Plaintiﬀ’s x-rays, which she underwent the

day after her consultative examination. The ALJ reached his own determination about

the implications of the x-rays, concluding that they could not account for Plaintiﬀ’s pain


                                             10
  Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 11 of 14 PageID #:1324




and limitations. The ALJ then supplanted Dr. Ramchandani’s medical examination with

his own evaluation of the x-rays. In doing so, the ALJ impermissibly usurped the role of

doctor in evaluating the new medical evidence evidence.

       “The Seventh Circuit has repeatedly held that an ALJ may not ‘play doctor and

interpret new and potentially decisive medical evidence without medical scrutiny.’ ”

Brian M. v. Kijakazi, No. 22 C 191, 2023 WL 5852193, at *5 (N.D. Ill. Sept. 11, 2023)

(quoting McHenry v. Berryhill, 911 F.3d 866, 871 (7th Cir. 2018)). Furthermore, “[t]he

Seventh Circuit has been especially critical of ALJs’ attempts to deduce the meaning of

complex medical documents, such as MRIs.” Id. (quoting Tobias B. v. Kijakazi, No. 20 C

2959, 2022 WL 4356857, at *6 (N.D. Ill. Sept. 20, 2022)); Theresa M. v. Saul, No. 19 C 3135,

2020 WL 7641286, at *5 (N.D. Ill. Dec. 23, 2020) (“[A]s the courts in this circuit have held

on numerous occasions, it is for doctors, and not ALJs to interpret x-rays, MRIs, and

other raw medical data, even if those scans appear to be mild or unremarkable.”) While

a radiologist characterized the x-rays as showing mild degenerative changes, the ALJ,

and not a doctor, decided what that meant with respect to Plaintiﬀ’s pain. Therefore, the

ALJ’s determination was thus not supported by substantial evidence. (R. 1242.)

       Finally, the ALJ erred in rejecting Dr. Ramchandani’s opinion on the basis that

Plaintiﬀ, in the ALJ’s view, overstated her symptoms to Dr. Ramchandani. (R. 22.) It is

well-settled that the Court “will overturn the ALJ's evaluation of a claimant's subjective

symptoms only if it is patently wrong, which means that the decision lacks any


                                             11
  Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 12 of 14 PageID #:1325




explanation or support.” Hess v. O'Malley, 92 F.4th 671, 679 (7th Cir. 2024) (internal

quotations omitted). While the ALJ acknowledged Plaintiﬀ’s testimony about the

severity of her symptoms, he made several errors when deciding Plaintiﬀ’s pain—in

particular her back pain—was not as severe as she described.

       At the hearing, Plaintiﬀ testiﬁed that she injured her back ten years earlier, which

causes pain to radiate down her left leg every day. (R. 41-42.) She characterized the pain

as eight-to-ten on a ten-point scale and said she had been told nothing more could be

done for it. (Id.) She also testiﬁed to having between one and six migraines per month

due to a “bad nerve” in her neck and stated that no medication helped alleviate the

pain. (R.43.) Plaintiﬀ testiﬁed that she could stand for 20 minutes and walk less than a

block; she further testiﬁed that she had to keep moving positions and elevate her leg

because of back pain. (R. 46.)

       The ALJ rejected Plaintiﬀ’s allegations about her back pain because (1) she only

needed to use a cane sometimes, when her knee was bad; (2) although she complained

of neck pain, x-rays only showed mild degenerative changes in her cervical spine; (3)

she complained of mental health struggles but had not been treated by a therapist; (4)

despite complaints of pain and migraine pain she once told a doctor it was not better,

but manageable, and that she got some relief from the painkiller Tramadol; and (5)

although she said she needed her inhaler once every two weeks and was short of breath,

she denied “cough, wheezing, dyspnea or hemoptysis” during a single telehealth visit.


                                            12
  Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 13 of 14 PageID #:1326




(R 21.) Additionally, the ALJ noted Plaintiﬀ’s three prior ALJ denials since 2012,

reﬂecting “essentially the same allegations,” before concluding that the past record

showed no evidence of worsening of symptoms “over time.” (Id.) Again, the ALJ

speciﬁcally cited to his own prior opinion as support for his conclusion that Plaintiﬀ’s

symptoms had not become more severe. (R. 21.)

       Plaintiﬀ’s testimony and medical records that she needed to use an inhaler once

every two weeks is not necessarily inconsistent with a single telehealth appointment

where she denied coughing, wheezing, labored breathing, or coughing up blood. (R.

1224.) Similarly, Plaintiﬀ acknowledged at the hearing that she did not need a cane to

help her walk and also admitted that her mental health impairments did not prevent

her from working. (R. 45.) This is not a situation where the ALJ discounted the severity

of a claimant’s symptoms because of her failure to adhere to a medically ordered

treatment plan. Instead, the ALJ concluded that Plaintiﬀ’s symptoms are not as severe

as she alleged because she did not follow the treatments the ALJ thought appropriate.

       All together, the record reﬂects multiple instances of the ALJ placing reaching

conclusions that are reserved for medical professionals — while at the same time

erroneously discounting the medical opinion that had been provided at his own

direction. Remand is required.




                                            13
  Case: 3:22-cv-50367 Document #: 24 Filed: 12/27/24 Page 14 of 14 PageID #:1327




                                   CONCLUSION


      For the foregoing reasons, the Court grants Plaintiﬀ’s motion for summary

judgment seeking to reverse and remand the ALJ’s decision (D.E. 15) and denies the

Commissioner’s motion for summary judgment. (D.E. 20).


SO ORDERED.

                                       ENTER:

                                       ________________________________

                                       LAURA K. MCNALLY
                                       United States Magistrate Judge


DATED: December 27, 2024
